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                               UNITED STATES DISTRICT COURT                                    Term #71
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.       CV 15-9692 PSG (Ex)                                         Date   April 4, 2017
                CV 16-2724 PSG (Ex)
                CV 16-2725 PSG (Ex)
 Title          Consumer Financial Protection Bureau v. D and D Marketing, Inc. et al.
                Consumer Financial Protection Bureau v. Fomichev
                Consumer Financial Protection Bureau v. Gasparyan




 Present: The Honorable        Philip S. Gutierrez, United States District Judge
                   Wendy Hernandez                                          Not Reported
                      Deputy Clerk                                         Court Reporter
            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                       Not Present                                           Not Present
 Proceedings (In Chambers):           Order GRANTING Defendant Gasparyan’s Motion to
                                      Consolidate for Pretrial Purposes Only

        Before the Court is Defendant Davit Gasparyan’s motion to consolidate pretrial
proceedings in three related actions, Consumer Financial Protection Bureau (“CFPB”) v. D and
D Marketing, Inc. d/b/a T3Leads et al., CV 15-9692 PSG (Ex); CFPB v. Fomichev, CV 16-2724
PSG (Ex); and CFPB v. Gasparyan, CV 16-2725 PSG (Ex). See CV 15-9692, Dkt. # 71; CV
16-2724, Dkt. # 48; CV 16-2725, Dkt. # 59. Plaintiff CFPB and the other Defendants, D and D
Marketing, Grigor Demirchyan, Marina Demirchyan, and Dmitry Fomichev, do not oppose the
motion to consolidate pretrial proceedings. See, e.g., CV 15-9692, Dkt. # 71, 2:26–3:1; CV 15-
9292, Dkt. # 78, 2:20–28. In its response to the motion to consolidate, however, Plaintiff asks
the Court to expand the scope of the consolidation to include not only pretrial proceedings but
trial as well. See CV 16-2725, Dkt. # 60.

       Consolidation is appropriate when actions “involve a common question of law or fact.”
Fed. R. Civ. P. 42(a). “The Court has broad discretion to order consolidation,” Inv’rs Research
Co. v. U.S. Dist. Court for Cent. Dist. of Cal., 877 F.2d 777 (9th Cir. 1989), and Federal Rule of
Civil Procedure 42(a) provides for full or limited forms of consolidation, Fed. R. Civ. P. 42(a).
In deciding whether to consolidate, the district court “weighs the saving of time and effort
consolidation would produce against any inconvenience, delay, or expense that it would cause.”
CSI Elec. Contractors, Inc. v. Zimmer Am. Corp., No. CV 12-10876 CAS (AJWx), 2013 WL
2251631, at *2 (C.D. Cal. May 22, 2013).

       Because no party opposes Defendant Gasparyan’s motion to consolidate pretrial
proceedings and the Court finds that such consolidation would facilitate discovery and motion
practice, avoid duplication, and facilitate coordination, the Court GRANTS Gasparyan’s motion.
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The Court defers considering Plaintiff’s broader invitation to consolidate not only the pretrial
proceedings, but trial as well. Because Plaintiff raises this argument in a responsive pleading,
rather than its own motion, the parties have not had an opportunity to address how a
consolidated trial might affect Defendants’ right to a fair and impartial adjudication. See
Malcolm v. Nat’l Gympsum Co., 995 F.2d 346, 350 (2d Cir. 1993) (quoting Johnson v. Celotex
Corp., 899 F.2d 1281, 1284–75 (2d Cir. 1990)). Moreover, courts regularly defer deciding
whether to consolidate a case through trial until the parties have engaged in discovery that could
clarify significant legal and factual differences among the parties. See Rancho Agricola Santa
Monica v. Westar Seeds Int’l, Inc., No. CV 08-1998 JM (JMAx), 2009 WL 3148756, at *3 (S.D.
Cal. Sept. 29, 2009). Should Plaintiff continue to believe that consolidation for trial would
advance judicial efficiency, Plaintiff may file a renewed motion to consolidate the matters for
trial at any time before the deadline for filing motions.

         Thus, the Court finds consolidation of the three cases appropriate for pretrial purposes
only. Subsequent pleadings and motions shall be filed under the caption and case number of the
first-filed case, CFPB v. D and D Mktg. et al., CV 15-9692 PSG (Ex). The related cases, CFPB
v. Fomichev, CV 16-2724 PSG (Ex), and CFPB v. Gasparyan, CV 16-2725, are administratively
closed and may be reopened, if necessary, as the case progresses to trial.

         IT IS SO ORDERED.




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